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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

   Case No. SA CV 17-1386-DOC (KESx)                                    Date: March 5, 2018

  Title: BILLIE RENE FRANCES LILLIAN POWERS V. THE BANK OF NEW YORK
        MELLON ET AL.

  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                Dwayne Roberts                                   Not Present
                Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                          ATTORNEYS PRESENT FOR
               PLAINTIFF:                                    DEFENDANT:
                 None Present                                   None Present



         PROCEEDINGS (IN CHAMBERS): ORDER GRANTING
                                    DEFENDANTS’ MOTIONS TO
                                    DISMISS AND MOTION TO
                                    STRIKE [35] [36] [38]

          On December 28, 2017, Defendants filed the Motions to Dismiss and a Motion to
  Strike (Dkts. 35, 36, 38). On January 8, 2018, Plaintiff substituted herself in as pro se
  counsel, having released her previous counsel. Plaintiff missed the January 15, 2018,
  deadline for filing an Opposition to Defendants’ Motions. The Court advised Plaintiff
  that failure to file an opposition constitutes grounds under Local Rule 7-12 to grant a
  motion as unopposed. Nevertheless, in the interest of resolving the claims on their merits,
  the Court extended the deadline for Plaintiff’s opposition to February 15, 2018. The
  Court warned Plaintiff that failure to timely file an opposition could result in dismissal of
  her case, and admonished Plaintiff to follow the Local Rules and timely file all future
  documents in this case.

         As discussed at the hearing on March 5, 2018, Plaintiff has failed to substantively
  oppose any of Defendants’ arguments, and as a result the Court DISMISSES WITHOUT
  PREJUDICE Plaintiff’s Second Amended Complaint. The Court has already gone out of
  its way multiple times to make accommodations for Plaintiff, given that she is pro se, and
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                               UNITED STATES DISTRICT COURT
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  the Court will give Plaintiff one last chance. She may file a Third Amended Complaint no
  later than March 19, 2018. The Court expects that Defendants will respond to the Third
  Amended Complaint by once again filing Motions to Dismiss. This is entirely
  appropriate, and Plaintiff must respond to those Motions if she wants to proceed with the
  case. Plaintiff is hereby warned that another failure to substantively oppose
  Defendants’ Motions to Dismiss will result in dismissal of Plaintiff’s claims with
  prejudice. That means this case will be over and will never proceed to trial.

         The Clerk shall serve this minute order on the parties.
   MINUTES FORM 11                                                     Initials of Deputy Clerk
   CIVIL-GEN
